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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

DEUTSCHE BANK NATIONAL                         §
TRUST COMPANY, AS TRUSTEE                      §
FOR HOME EQUITY MORTGAGE                       §
LOAN ASSET-BACKED TRUST,                       §
SERIES INABS 2005-B, HOME                      §
EQUITY MORTGAGE LOAN                           §
ASSET-BACKED CERTIFICATES,                     §
SERIES INABS 2005-B,                           §
                                               §
       Plaintiff,                              §          Civil Action No. 4:17-cv-2450
                                               §
v.                                             §
                                               §
KAREN BURNEY MAYBERRY,                         §
                                               §
       Defendant.                              §

     NOTICE OF COMPLIANCE WITH AGREED JUDGMENT OF PLAINTIFF AND
                 DEFENDANT KAREN BURNEY MAYBERRY

       Plaintiff the Deutsche Bank National Trust Company, as Trustee for Home Equity

Mortgage Loan Asset-Backed Trust, Series INABS 2005-B, Home Equity Mortgage Loan Asset-

Backed Certificates, Series INABS 2005-B (“Deutsche Bank” or “Plaintiff”) hereby notifies the

Court that in accordance with the Parties’ confidential Settlement and Release Agreement and

the Agreed Judgment, Mayberry has indorsed and mailed to Plaintiff’s counsel two Insurance

Checks that she claims are all of the checks issued in connection with and relating to the property

commonly known as 3839 North Macgregor Way, Houston, Texas 77004.




NOTICE OF COMPLIANCE WITH AGREED JUDGMENT OF PLAINTIFF AND
DEFENDANT KAREN BURNEY MAYBERRY                                                            PAGE 1
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                                               Respectfully submitted,

                                               By:    /s/ Philip W. Danaher
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                                               ATTORNEYS FOR PLAINTIFF


                              CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of January, 2019, a true and correct copy of the
foregoing was served via ECF service on the following counsel:

Allen Halbrook
Sneed, Vine & Perry
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512-476-6955
512-476-1825 (Fax)
                                                   /s/ Philip W. Danaher
                                                  PHILIP W. DANAHER




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DEFENDANT KAREN BURNEY MAYBERRY                                                          PAGE 2
